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                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA



UNITED STATES OF AMERICA                     :
                                             :
              v.                             :      Case No. 24-CR-208 (JMC)
                                             :
LIN MARIE CAREY,                             :
                                             :
                                             :
                      Defendant.             :

                                            ORDER

       Pursuant to the motion filed by the United States, ECF 28, it is hereby ordered that the

Motion to Dismiss the Information pursuant to Rule 48(a) with prejudice is GRANTED.



       SO ORDERED this _____ day of __________, 2025.



                                             _____________________________________
                                             The Honorable Amit P. Mehta
                                             United States District Court Judge
